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              Exhibit A
                                                                                             E-FILED IN OFFICE - AM
        Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 2 of 51                     CLERK OF STATE COURT
                                                                                        GWINNETT COUNTY, GEORGIA
                                                                                                  21-C-03626-S1
                                                                                              5/14/2021 2:54 PM
                                                                                            TIANA P. GARNER, CLERK

                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

 PATRICK SMITH and ELIZABETH                    )
 SMITH, individually as Surviving               )
 Parents of HUNTER SMITH, deceased;             )
 and ELIZABETH SMITH, as                        )     CIVIL ACTION FILE NO.
 Administrator of the ESTATE OF                 )
                                                          21-C-03626-S1
 HUNTER SMITH,                                  )     ______________________
                                                )
                Plaintiffs,                     )
                                                )
 v.                                             )     JURY TRIAL DEMANDED
                                                )
 SAFELITE FULFILLMENT, INC. and                 )
 WENDELL GRIFFIN,                               )
            Defendants.                         )
                                                )

                                         COMPLAINT

       Plaintiff, by and through her counsel, hereby files this Complaint and shows this Honorable

Court and Jury as follows:

                                            PARTIES

                                               1.

       This lawsuit arises from an incident on May 14, 2019 at a Safelite Autoglass facility located

in Braselton, Georgia, which resulted in the death of Hunter Smith at the age of twenty-two (22).

                                               2.

       Plaintiffs Patrick Smith and Elizabeth Smith are residents and citizens of the State of

Georgia.

                                               3.

       Plaintiffs Patrick Smith and Elizabeth Smith are the surviving parents of Hunter Smith,

deceased. At the time of his death, Hunter Smith was not survived by a spouse or children.


                                                1
        Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 3 of 51




                                                 4.

       Plaintiff Elizabeth Smith is the duly appointed Administrator of the Estate of Hunter Smith.

                                                 5.

       Defendant Safelite Fulfillment, Inc. is a Delaware corporation with its principal place of

business in Ohio. Defendant Safelite Fulfillment, Inc. is registered to transact business in the State

of Georgia and does conduct substantial business within the state of Georgia. Defendant Safelite

Fulfillment, Inc. may be served through its registered agent, Corporation Service Company, 2 Sun

Court, Suite 400, Peachtree Corners, Gwinnett County, Georgia 30092.

                                                 6.

       Defendant Safelite Fulfillment, Inc. is subject to the jurisdiction of this Court.

                                                 7.

       On information and belief, Defendant Safelite Fulfillment, Inc. operated the business

known as Safelite Autoglass located at 1350 Braselton Parkway, Braselton, Georgia, on and before

May 14, 2019.

                                                 8.

       Defendant Wendell Griffin is, on information and belief, a resident and citizen of State of

Georgia and may be served at 897 Sand Lane, Lawrenceville, Gwinnett County, Georgia 30045.

                                                 9.

       On information and belief, at all times relevant hereto including on May 14, 2019,

Defendant Griffin was an agent and employee of Defendant Safelite Fulfillment, Inc.




                                                  2
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                                               10.

       On information and belief, the negligent acts and omissions of Defendant Griffin

complained of herein were performed within the course and scope of his employment with

Defendant Safelite Fulfillment, Inc.

                                               11.

       Defendant Safelite Fulfillment, Inc. is liable for the acts and omissions of its agent and

employee, Defendant Griffin, under theories of respondeat superior, apparent agency, ostensible

agency and other theories of agency-principal law.

                                               12.

       Defendants are joint tortfeasors and are jointly and severally liable for the acts and

omissions complained of herein, and the damages sustained by plaintiff.

                                               13.

       Venue is proper in this Court.

                                             FACTS

                                               14.

       Plaintiffs incorporate the above-numbered allegations as if fully set forth herein.

                                               15.

       On May 14, 2019, Hunter Smith was performing work at the Safelite Autoglass facility

located at 1350 Braselton Parkway, Braselton, Georgia, as an agent and employee of Hire

Dynamics.

                                               16.

       At the time he was performing work at the Safelite Autoglass Braselton facility, Hunter

Smith was not an agent or employee of Defendant Safelite Fulfillment, Inc.

                                                3
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                                                 17.

        Defendant Griffin was also working at the Safelite Autoglass Braselton facility on May 14,

2019.

                                                 18.

        On information and belief, Defendant Griffin was working at the Safelite Autoglass

Braselton facility on May 14, 2019, as an agent and employee of Defendant Safelite Fulfillment,

Inc., operating a material handling truck on its behalf and for its benefit.

                                                 19.

        Defendant Griffin owed Plaintiff’s decedent, Hunter Smith, a duty to use ordinary care in

the operation of his material handling truck on May 14, 2019.

                                                 20.

        Defendant Griffin breached this duty and was negligent in the operation of his material

handling truck on May 14, 2019.

                                                 21.

        During the course and within the scope of his employment with Defendant Safelite

Fulfillment, Inc., Defendant Griffin negligently operated a material handling truck, thereby

causing Hunter Smith to suffer serious physical and other injuries and caused Hunter Smiths’ death

at the age of twenty-two (22) on May 14, 2019.

                                                 22.

        Defendant Safelite Fulfillment, Inc. is liable for the negligent and wrongful acts and

omissions of Defendant Griffin.




                                                  4
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                                 COUNT I – ESTATE CLAIMS

                                                23.

       Plaintiffs incorporate the above-numbered allegations as if fully set forth herein.

                                                24.

       As a direct and proximate result of Defendants’ negligence, Hunter Smith suffered serious

physical and emotional injuries, pain and suffering. Plaintiff Elizabeth Smith, as Administrator of

the Estate of Hunter Smith, is entitled to recover damages from Defendants for the physical and

emotional injuries, pain and suffering endured by Hunter Smith prior to his death in an amount

determined by the enlightened conscience of the jury.

                                                25.

       As a direct and proximate result of Defendants’ negligence, Hunter Smith’s Estate incurred

medical, funeral and burial expenses. Plaintiff Elizabeth Smith, as Administrator of the Estate of

Hunter Smith, is entitled to recover damages from Defendants for these medical, funeral and burial

expenses in an amount proven at trial.

                         COUNT II – WRONGFUL DEATH CLAIM

                                                26.

       Plaintiffs incorporate the above-numbered allegations as if fully set forth herein.

                                                27.

       As a direct and proximate result of Defendants’ negligence, Hunter Smith died prematurely

at the age of twenty-two (22). Plaintiffs Patrick and Elizabeth Smith, as surviving parents of Hunter

Smith, are entitled to recover damages from Defendants for the full value of the life of Hunter

Smith in an amount determined by the enlightened conscience of the jury.



                                                 5
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                           STATUTE OF LIMITATIONS TOLLING

                                                   28.

        In response to the global Covid-19 crisis, Chief Justice of the Georgia Supreme Court

Harold D. Melton issued an Order Declaring Statewide Judicial Emergency on March 14, 2020,

pursuant to O.C.G.A. § 38-3-61. That Order suspended, tolled, extended and otherwise granted

relief from any deadlines or other time schedules or filing requirements imposed by otherwise

applicable statutes, rules, regulations or court orders, whether in civil or criminal cases or

administrative matters, including, but not limited to, any statute of limitation.

                                                   29.

        Subsequent Orders were entered by the Chief Justice of the Georgia Supreme Court

extending the tolling of statutes of limitation on April 6, 2020, May 11, 2020, June 12, 2020, and

July 10, 2020.

                                                   30.

        The Chief Justice’s Fourth Order Extending Declaration of Statewide Judicial Emergency

dated July 10, 2020, reinstituted deadlines, including statutes of limitation, effective July 14, 2020,

specifically providing as follows: “The 122 days between March 14 and July 14, 2020, or any

portion of that period in which a statute of limitation would have run, shall be excluded from the

calculation of that statute of limitation.”

                                                   31.

        Thus, the statute of limitation on the wrongful death claim asserted by Plaintiffs against

Defendants was tolled for 122 days between March 14, 2020 and July 14, 2020.




                                                  6
        Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 8 of 51




                                                   32.

       Absent the Order Declaring Statewide Judicial Emergency, and subsequent Orders

extending the statute of limitation tolling, the statute of limitation on Plaintiffs’ wrongful death

claim against Defendants would have expired on May 14, 2021. However, due to the 122 day

tolling period set forth above, the statute of limitation on Plaintiff’s claims against Defendants

shall not expire until 122 days after May 14, 2021, or the next business day.

                                                   33.

       In addition, Hunter Smith’s Estate was unrepresented until November 12, 2020, when

Letters of Administration were issued by the Probate Court of Jackson County making Elizabeth

Smith Administrator of that Estate.

                                                   34.

       Pursuant to O.C.G.A. § 9-3-92, the time between Hunter Smith’s death on May 14, 2019

and the time commence of representation of his Estate on November 12, 2020, shall not be counted

against his Estate in calculating the applicable statute of limitations. As such, the statute of

limitations on the claims of the Estate of Hunter Smith will not expire until November 12, 2022.

                                                   35.

       Accordingly, the filing of this Complaint and Plaintiffs’ claims are timely.

       WHEREFORE, Plaintiffs pray:

       a)      That process issue and Defendants be served as provided by law;

       b)      That Plaintiffs have a trial by jury on all issues so triable;

       c)      That Plaintiffs have judgment against Defendants, jointly and severally, for all

               damages, costs and expenses plead herein;

       d)      That Plaintiffs be awarded expenses of litigation, including fees, pursuant to

                                                  7
       Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 9 of 51




             O.C.G.A. § 13-6-11;

      e)     That all costs and attorney’s fees be taxed against the Defendants; and

      f)     That Plaintiffs have such further relief which the Court deems just and proper.

      This the 14th day of May, 2021.

                                           Respectfully Submitted,

                                           CASH, KRUGLER, & FREDERICKS, LLC
                                           /s/ David Krugler
                                           David Krugler
                                           Georgia Bar Number 429929

5447 Roswell Road, N.E.
Atlanta, Georgia 30342
(404) 659-1710
(404 264-1149 (fax)
dkrugler@ckf.law

                                           THE LAW OFFICE OF JOSHUA W. BRANCH, LLC
                                           /s/ Joshua W. Branch
                                           Joshua W. Branch
                                           Georgia Bar Number 142280

648 South Milledge Avenue
Athens, GA 30605
(706) 850-4994
(706) 850-4998 (fax)
jb@joshbranchlaw.com




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   Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 10 of 51 CLERK OF STATE COURT
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14TH              MAY                           21
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   Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 11 of 51 CLERK OF STATE COURT
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14TH                MAY                         21
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                       Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 12 of 51                                                 CLERK OF STATE COURT
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                                General Civil and Domestic Relations Case Filing Information Form                                                21-C-03626-S1
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                                     ☐ Superior or ☐                Gwinnett
                                                   X State Court of ______________________________ County

           For Clerk Use Only

           Date Filed _________________________                                 Case Number _________________________
                           MM-DD-YYYY

Plaintiff(s)                                                                       Defendant(s)
__________________________________________________
Smith, Patrick (Surviving Parent of Hunter Smith)                                  __________________________________________________
                                                                                   Safelite Fulfillment, Inc.
Last                 First                  Middle I.      Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
__________________________________________________
Smith, Elizabeth (Surviving Parent of Hunter Smith)                                __________________________________________________
                                                                                   Griffin, Wendell
Last                 First                  Middle I.      Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
__________________________________________________                                 __________________________________________________
Smith, Elizabeth (as Administrator of the Estate of Hunter Smith)

Last                 First                  Middle I.      Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
__________________________________________________                                 __________________________________________________
Last                 First                  Middle I.      Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix

                     David Krugler, Esq.
Plaintiff s Attorney ________________________________________                                      429929
                                                                                       Bar Number __________________         Self-Represented ☐

                                                              Check One Case Type in One Box

           General Civil Cases                                                              Domestic Relations Cases
           ☐           Automobile Tort                                                      ☐            Adoption
           ☐           Civil Appeal                                                         ☐            Dissolution/Divorce/Separate
           ☐           Contract                                                                          Maintenance
           ☐           Garnishment                                                          ☐            Family Violence Petition
           X
           ☐           General Tort                                                         ☐            Paternity/Legitimation
           ☐           Habeas Corpus                                                        ☐            Support IV-D
           ☐           Injunction/Mandamus/Other Writ                                       ☐            Support Private (non-IV-D)
           ☐           Landlord/Tenant                                                      ☐            Other Domestic Relations
           ☐           Medical Malpractice Tort
           ☐           Product Liability Tort                                               Post-Judgment          Check One Case Type
           ☐           Real Property                                                        ☐   Contempt
           ☐           Restraining Petition                                                   ☐ Non-payment of child support,
           ☐           Other General Civil                                                       medical support, or alimony
                                                                                            ☐   Modification
                                                                                            ☐   Other/Administrative

☐          Check if the action is related to another action(s) pending or previously pending in this court involving some or all
           of the same parties, subject matter, or factual issues. If so, provide a case number for each.
           ____________________________________________             ____________________________________________
                        Case Number                                               Case Number

X
☐          I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
           redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

☐          Is an interpreter needed in this case? If so, provide the language(s) required. ________________________________
                                                                                                                      Language(s) Required

☐          Do you or your client need any disability accommodations? If so, please describe the accommodation request.
           _________________________________________________________________________________________________________________________
           _________________________________________________________________________________________________________________________
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Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 13 of 51 CLERK OF STATE COURT
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Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 14 of 51 CLERK OF STATE COURT
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                                                                TIANA P. GARNER, CLERK
           Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 15 of 51



              Fulfillment, Inc.; and

     (8)      Plaintiffs’ First Requests for Production of Documents to Defendant Wendell
              Griffin (erroneously titled Plaintiffs’ First Requests for Production of Documents to
              Safelite Fulfillment, Inc.).

       Receipt of copies of the above-mentioned documents is hereby acknowledged and is

deemed legally sufficient by the undersigned. Further service or service of process is waived by

Defendant Safelite Fulfillment, Inc. By accepting and acknowledging service, Defendant Safelite

Fulfillment, Inc. does not waive any defenses it may have to Plaintiffs’ Complaint other than as

to service of process.

       I understand that Defendant Safelite Fulfillment, Inc. shall have thirty (30) days from the

date this Acknowledgment is signed to file an Answer to Plaintiffs’ Complaint and/or other

defensive pleadings and that a judgment may be entered against said Defendant if an Answer

and/or defensive pleadings are not filed within this time period.

        This the juAtlay of May, 2021.

                                                      Respectfully Submitted,




                                       By:    Robert A. Luskin
                                              Georgia Bar Number ocH 3 ^3
                                              Attorney for Defendant Safelite Fulfillment, Inc.

Goodman McGuffey, LLP
3340 Peachtree Road NE
Suite 2100
Atlanta, GA 30326
Phone (404) 264-1500
Fax (404) 264-1737
RLuskin@gm-llp.com
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         Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 16 of 51              CLERK OF STATE COURT
                                                                                   GWINNETT COUNTY, GEORGIA
                                                                                            21-C-03626-S1
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                                                                                      TIANA P. GARNER, CLERK

                       IN THE STATE COURT OF GWINNETT COUNTY

                                      STATE OF GEORGIA

  PATRICK SMITH and ELIZABETH
  SMITH, individually as Surviving Parents
  of HUNTER SMITH, deceased, and                    Civil Action
  ELIZABETH SMITH, as Administrator of              File No.:      21-c-03626-S1
  the ESTATE OF HUNTER SMITH,

       Plaintiff,

  v.

  SAFELITE FULFILLMENT, INC. and
  WENDELL GRIFFIN,

       Defendants.
                        AFFIRMATIVE DEFENSES AND ANSWER
                          OF SAFELITE FULFILLMENT, INC.

         COMES NOW, Safelite Fulfillment Inc., named Defendant in the above styled

action, and files the following Defenses and Answer to Plaintiff’s Complaint and shows the

Court as follows:

                                       FIRST DEFENSE

         The Complaint fails to set forth a claim against this Defendant upon which relief can

be granted.

                                     SECOND DEFENSE

         For a Second Defense, the Defendant answers the numbered paragraphs of the

Complaint as follows:
       Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 17 of 51




                                       PARTIES

                                            1.

      Defendant states that Paragraph one of Plaintiffs’ Complaint does not require a

response. To the extent a response is required, Defendant denies the allegations contained

in Paragraph 1 of the Complaint.

                                            2.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 2 of the Complaint and, therefore, cannot

admit or deny same.

                                            3.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 3 of the Complaint and, therefore, cannot

admit or deny same.

                                            4.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 4 of the Complaint and, therefore, cannot

admit or deny same.

                                            5.

      Defendant admits that it is a Delaware corporation with its principal place of

business in Ohio. Defendant admits it is registered to transact business in the State of

Georgia. Defendant admits it has acknowledged service in this action. Defendant denies

the remaining allegations contained in Paragraph 5 of the Complaint.

                                            6.

      Defendant denies the allegations contained in Paragraph 6 of the Complaint.


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                                            7.

      Defendant admits the allegation contained in Paragraph 7 of the Complaint.

                                            8.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 8 of the Complaint and, therefore, cannot

admit or deny same.

                                            9.

      Defendant admits that on May 14, 2019 Defendant Griffin was an employee of

Defendant. Defendant denies any remaining allegations contained in Paragraph 9 of the

Complaint.

                                           10.

      Defendant denies as pled the allegations contained in Paragraph 10 of Plaintiffs’

Complaint.

                                            11.

      Defendant denies as pled the allegations contained in Paragraph 11 of the Plaintiffs’

Complaint.

                                           12.

      Defendant denies the allegations contained in Paragraph 12 of Plaintiffs’ Complaint.

                                           13.

      Defendant denies the allegations contained in Paragraph 13 of Plaintiffs’ Complaint.

                                         FACTS

                                           14.

      Defendant restates the foregoing responses and defenses as if set out fully herein.

                                            15.


                                           -3-
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       Defendant denies as pled the allegations contained in Paragraph 15 of Plaintiffs’

Complaint.

                                            16.

       Defendant denies the allegations contained in Paragraph 16 of Plaintiffs’ Complaint.

                                             17.

       Defendant admits the allegations contained in Paragraph 17 of Plaintiffs’

Complaint.

                                            18.

       Defendant admits that Defendant Griffin was working at the Safelite Autoglass

Braselton facility on May 14, 2019, as an employee of Defendant. Defendant denies as pled

the remaining allegations contained in Paragraph 18 of Plaintiffs’ Complaint.

                                            19.

       Defendant denies as pled the allegations contained in Paragraph 19 of the

Complaint.

                                            20.

       Defendant denies the allegations contained in Paragraph 20 of the Complaint.

                                            21.

       Defendant denies the allegations contained in Paragraph 21 of the Complaint.

                                            22.

       Defendant denies the allegations contained in Paragraph 22 of the Complaint.

                              COUNT I- ESTATE CLAIMS

                                            23.

       Defendant restates the foregoing responses and defenses as if set out fully herein.

                                            24.


                                            -4-
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      Defendant denies the allegations contained in Paragraph 24 of Plaintiffs’

Complaint.

                                           25.

      Defendant denies the allegations contained in Paragraph 25 of Plaintiffs’

Complaint.

                         COUNT II – WRONGFUL DEATH

                                           26.

      Defendant restates the foregoing responses and defenses as if set out fully herein.

                                           27.

      Defendant denies the allegations contained in Paragraph 27 of Plaintiffs’ Complaint.

                      STATUTE OF LIMITATIONS TOLLING

                                           28.

      Defendant denies as pled the allegations contained in Paragraph 28 of Plaintiffs’

Complaint.

                                           29.

      Defendant denies as pled the allegations contained in Paragraph 29 of Plaintiffs’

Complaint.

                                           30.

      Defendant denies the allegations contained in Paragraph 30 of the Complaint.

                                           31.

      Defendant denies the allegations contained in Paragraph 31 of the Complaint.

                                           32.

      Defendant denies the allegations contained in Paragraph 32 of the Complaint.

                                           33.


                                           -5-
       Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 21 of 51




       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 33 of the Complaint and, therefore, cannot

admit or deny same.

                                              34.

       Defendant denies as pled the allegations contained in Paragraph 34 of the

Complaint.

                                              35.

       Defendant admits the allegations contained in Paragraph 35 of the Complaint.

                                              36.

       Defendant denies the allegations contained in the WHEREFORE paragraph,

including subparagraphs (a) through (f).

                                              36.

       Any allegation of the Complaint not admitted, denied or otherwise responded to

above is hereby denied.

                                     THIRD DEFENSE

       Defendant is not liable to Plaintiff because Defendant breached no duty owed to

Plaintiff in regard to the occurrence giving rise to this Complaint.

                                    FOURTH DEFENSE

       Plaintiffs’ claims are barred by the Worker’s Compensation Act.

                                      FIFTH DEFENSE

       The claims of Plaintiff are barred by the Georgia doctrine of assumption of risk.

                                     NINTH DEFENSE

       Plaintiff’s injuries, if any, were caused by an unforeseeable intervening third party

tortfeasor and/or the acts and failure to act of persons or entities other than Defendant.


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                                      TENTH DEFENSE

       The Plaintiff’s failure to properly plead items of special damages sought in this

action prohibits and/or bars Plaintiff’s rights to recover and/or recoup any items of special

damages in this action, as a matter of law. O.C.G.A. § 9-11-9(g).

                                   ELEVENTH DEFENSE

       The Complaint should be dismissed for lack of jurisdiction over the subject matter,

lack of jurisdiction over the person of this Defendant and improper venue.

                     TWELFTH DEFENSE AND/OR COUNTERCLAIM

       If any portion of the Plaintiff’s injuries or damages were caused in whole or in part

by negligence of the Plaintiff’s employer, then the Defendant is entitled to a set off in the

amount of workers compensation benefits paid by the employer. See, J.R. Mabbett & Son,

Inc. v. Ripley, 185 Ga. App. 601 (1988).

                                 THIRTHEENTH DEFENSE

       In the event that any benefits have been paid by or on behalf of Defendant,

Defendant is entitled to a set off against any verdict for the amount of benefits paid. See,

Orndorff v. Brown, 197 Ga. App. 591 (1990).

       WHEREFORE, having fully answered, Defendant prays that the Complaint be

dismissed with costs of this action cast against the Plaintiff.




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     Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 23 of 51




     This 23rd day of June, 2021.

                                    Goodman McGuffey LLP
                                    Attorneys for Safelite Fulfillment Inc.


                          By:       _/s/Robert A. Luskin_________
                                    Robert A. Luskin
                                    GA State Bar No.: 004383
                                    rluskin@GM-LLP.com
                                    Samantha M. Mullis
                                    GA State Bar No.: 365592
                                    smullis@gm-llp.com
                                    3340 Peachtree Road NE, Suite 2100
                                    Atlanta, GA 30326-1084
                                    (404) 264-1500 Phone
                                    (404) 264-1737 Fax


DEFENDANT DEMANDS
TRIAL BY JURY OF TWELVE




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         Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 24 of 51




                       IN THE STATE COURT OF GWINNETT COUNTY

                                      STATE OF GEORGIA

  PATRICK SMITH and ELIZABETH
  SMITH, individually as Surviving Parents
  of HUNTER SMITH, deceased; and                    Civil Action
  ELIZABETH SMITH, as Administrator of              File No.:      21-c-03626-S1
  the ESTATE OF HUNTER SMITH,

       Plaintiff,

  v.

  SAFELITE FULFILLMENT, INC. and
  WENDELL GRIFFIN,

       Defendants.
                                 CERTIFICATE OF SERVICE

         This is to certify that I have this day served all counsel and parties of record with a

copy of Affirmative Defenses and Answer of Safelite Fulfillment, Inc. by

statutory electronic service pursuant to O.C.G.A. § 9-11-5(b) or by depositing a copy of

same in the United States Mail, postage prepaid, as follows:

                                   Charles N. Kelley, Jr., Esq.
                                    Kelley & Clements, LLP
                                         PO Box 2758
                                    Gainesville, GA 30503

                                     Daniel T. Mabery, Esq.
                                     Haynes & Boone, LLP
                                       2323 Victory Ave
                                       Dallas, TX 75219

                                  David Paul Bender, Jr., Esq.
                                    Haynes & Boone, LLP
                                  600 Anton Blvd., Suite 700
                                    Costa Mesa, CA 92626

                                   Michael John Stoner, Esq.
                                    Haynes & Boone, LLP
                                       2323 Victory Ave


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                                Dallas, TX 75219

                              Nancy K. Tordai, Esq.
                               Peters & Nye, LLC
                           14 Executive Court, Suite 2
                           South Barrington, IL 60010


This 23rd day of June, 2021.




                     By:       /s/Robert A. Luskin____________
                               Robert A. Luskin
                               GA State Bar No.: 004383
                               rluskin@GM-LLP.com
                               Goodman McGuffey LLP
                               3340 Peachtree Road NE, Suite 2100
                               Atlanta, GA 30326-1084
                               (404) 264-1500 Phone
                               (404) 264-1737 Fax




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         Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 26 of 51              CLERK OF STATE COURT
                                                                                   GWINNETT COUNTY, GEORGIA
                                                                                            21-C-03626-S1
                                                                                       6/23/2021 11:15 AM
                                                                                      TIANA P. GARNER, CLERK

                       IN THE STATE COURT OF GWINNETT COUNTY

                                      STATE OF GEORGIA

  PATRICK SMITH and ELIZABETH
  SMITH, individually as Surviving Parents
  of HUNTER SMITH, deceased; and                    Civil Action
  ELIZABETH SMITH, as Administrator of              File No.:      21-c-03626-S1
  the ESTATE OF HUNTER SMITH,

       Plaintiff,

  v.

  SAFELITE FULFILLMENT, INC. and
  WENDELL GRIFFIN,

       Defendants.
                         SPECIAL APPEARANCE ANSWER FOR
                           DEFENDANT WENDELL GRIFFIN

         COMES NOW, Wendell Griffin, named Defendant in the above styled action,

without submitting to the jurisdiction of the Court files this Special Appearance Answer to

Plaintiffs’ Complaint and shows the Court as follows:

                                       FIRST DEFENSE

         The Complaint fails to set forth a claim against this Defendant upon which relief can

be granted.

                                     SECOND DEFENSE

         For a Second Defense, the Defendant answers the numbered paragraphs of the

Complaint as follows:
       Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 27 of 51




                                       PARTIES

                                            1.

       Paragraph 1 of the Complaint speaks for itself and does not require a response. To

the extent a response is required, Defendant denies the allegations contained in Paragraph

1 of the Complaint.

                                            2.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 2 of the Complaint and, therefore, cannot

admit or deny same.

                                            3.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 3 of the Complaint and, therefore, cannot

admit or deny same.

                                            4.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 4 of the Complaint and, therefore, cannot

admit or deny same.

                                            5.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 5 of the Complaint and, therefore, cannot

admit or deny same.

                                            6.




                                           -2-
       Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 28 of 51




      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 6 of the Complaint and, therefore, cannot

admit or deny same.

                                           7.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 7 of the Complaint and, therefore, cannot

admit or deny same.

                                           8.

      Defendant denies the allegations contained in Paragraph 8 of the Complaint.

                                           9.

      Defendant admits that he was an employee of Safelite on May 14, 2019. Defendant

denies the remaining allegations contained in Paragraph 9 of the Complaint.

                                           10.

      Defendant denies as pled the allegations contained in Paragraph 10 of the

Complaint.

                                           11.

      Defendant denies as pled the allegations contained in Paragraph 11 of the

Complaint.

                                           12.

      Defendant denies the allegations contained in Paragraph 12 of the Complaint.

                                           13.

      Defendant denies the allegations contained in Paragraph 13 of the Complaint.

                                        FACTS

                                           14.


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       Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 29 of 51




      Defendant realleges the foregoing responses and defenses as if set forth fully herein.

                                            15.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 15 of the Complaint and, therefore, cannot

admit or deny same.

                                            16.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 16 of the Complaint and, therefore, cannot

admit or deny same.

                                            17.

      Defendant admits the allegations contained in Paragraph 17 of the Complaint.

                                            18.

      Defendant admits that he was working at the Safelite Autoglass Braselton facility on

May 14, 2019 as an employee of Safelite. Defendant denies as pled the remaining

allegations contained in Paragraph 18 of the Complaint.

                                            19.

      Defendant denies as pled the allegations contained in Paragraph 19 of the

Complaint.

                                           20.

      Defendant denies the allegations contained in Paragraph 20 of the Complaint.

                                            21.

      Defendant denies the allegations contained in Paragraph 21 of the Complaint.




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      Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 30 of 51




                                           22.

      Defendant denies the allegations contained in Paragraph 22 of the Complaint.

                            COUNT I – ESTATE CLAIMS

                                           23.

      Defendant realleges the foregoing responses and defenses as if set forth fully herein.

                                           24.

      Defendant denies the allegations contained in Paragraph 24 of the Complaint.

                                            25.

      Defendant denies the allegations contained in Paragraph 25 of the Complaint.

                    COUNT II – WRONGFUL DEATH CLAIM

                                           26.

      Defendant realleges the foregoing responses and defenses as if set forth fully herein.

                                            27.

      Defendant denies the allegations contained in Paragraph 27 of the Complaint.

                      STATUTE OF LIMITATIONS TOLLING

                                           28.

      Defendant denies as pled the allegations contained in Paragraph 28 of the

Complaint.

                                           29.




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       Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 31 of 51




      Defendant denies as pled the allegations contained in Paragraph 29 of the

Complaint.

                                           30.

      Defendant denies as pled the allegations contained in Paragraph 30 of the

Complaint.

                                           31.

      Defendant denies the allegations contained in Paragraph 31 of the Complaint.

                                           32.

      Defendant denies the allegations contained in Paragraph 32 of the Complaint.

                                           33.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 33 of the Complaint and, therefore, cannot

admit or deny same.

                                           34.

      Defendant denies as pled the allegations contained in Paragraph 34 of the

Complaint.

                                           35.

      Defendant denies all allegations contained in the WHEREFORE paragraph

including subparagraphs (a) through (f).

                                           36.




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       Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 32 of 51




       Any allegation of the Complaint not admitted, denied or otherwise responded to

above is hereby denied.

                                      THIRD DEFENSE

       Defendant is not liable to Plaintiff because Defendant breached no duty owed to

Plaintiff in regard to the occurrence giving rise to this Complaint.

                                    FOURTH DEFENSE

       Defendant shows that the alleged damages of Plaintiff, if any, were caused by the

contributory and comparative negligence of Plaintiff.

                                      FIFTH DEFENSE

       Plaintiff, by the exercise of ordinary care, could have avoided the consequences of

any act or failure to act of Defendant.

                                      SIXTH DEFENSE

       Defendant is not liable to Plaintiff because the negligence of Plaintiff equaled or

preponderated over any acts or omissions of Defendant in producing or in bringing about

the occurrence complained of, but Defendant denies that any act of Defendant produced,

brought about, caused, or contributed to in any manner whatsoever the occurrence

complained of in the Complaint.

                                    SEVENTH DEFENSE

       Plaintiffs’ claims are barred by the Workers’ Compensation Act.

                                     EIGHTH DEFENSE

       Defendant is an improper party.

                                      NINTH DEFENSE

       Plaintiff’s injuries, if any, were caused by an unforeseeable intervening third party

tortfeasor and/or the acts and failure to act of persons or entities other than Defendant.


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       Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 33 of 51




                                      TENTH DEFENSE

       The Plaintiff’s failure to properly plead items of special damages sought in this

action prohibits and/or bars Plaintiff’s rights to recover and/or recoup any items of special

damages in this action, as a matter of law. O.C.G.A. § 9-11-9(g).

                                   ELEVENTH DEFENSE

       The Complaint should be dismissed for lack of jurisdiction over the subject matter,

lack of jurisdiction over the person of this Defendant improper venue, and insufficiency of

process and service of process as to this Defendant.

                     TWELFTH DEFENSE AND/OR COUNTERCLAIM

       If any portion of the Plaintiff’s injuries or damages were caused in whole or in part

by negligence of the Plaintiff’s employer, then the Defendant is entitled to a set off in the

amount of workers compensation benefits paid by the employer. See, J.R. Mabbett & Son,

Inc. v. Ripley, 185 Ga. App. 601 (1988).

                                  THIRTEENTH DEFENSE

       In the event that any benefits have been paid by or on behalf of Defendant,

Defendant is entitled to a set off against any verdict for the amount of benefits paid. See,

Orndorff v. Brown, 197 Ga. App. 591 (1990).

       WHEREFORE, having fully answered, Defendant prays that the Complaint be

dismissed with costs of this action cast against the Plaintiff.




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     This 23rd day of June, 2021.

                                    Goodman McGuffey LLP
                                    Attorneys for Safelite Fulfillment Inc.


                          By:       _/s/ Robert A. Luskin______________
                                    Robert A. Luskin
                                    GA State Bar No.: 004383
                                    rluskin@GM-LLP.com
                                    Samantha M. Mullis
                                    GA State Bar No.: 365592
                                    smullis@gm-llp.com
                                    3340 Peachtree Road NE, Suite 2100
                                    Atlanta, GA 30326-1084
                                    (404) 264-1500 Phone
                                    (404) 264-1737 Fax


DEFENDANT DEMANDS
TRIAL BY JURY OF TWELVE




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                       IN THE STATE COURT OF GWINNETT COUNTY

                                        STATE OF GEORGIA

  PATRICK SMITH and ELIZABETH
  SMITH, individually as Surviving Parents
  of HUNTER SMITH, deceased; and                       Civil Action
  ELIZABETH SMITH, as Administrator of                 File No.:      21-c-03626-S1
  the ESTATE OF HUNTER SMITH,

       Plaintiff,

  v.

  SAFELITE FULFILLMENT, INC. and
  WENDELL GRIFFIN,

       Defendants.
                                 CERTIFICATE OF SERVICE

         This is to certify that I have this day served all counsel and parties of record with a

copy of Special Appearance Answer for Defendant Wendell Griffin by statutory

electronic service pursuant to O.C.G.A. § 9-11-5(b) or by depositing a copy of same in the

United States Mail, postage prepaid, as follows:

                                    David N. Krugler, Esq.
                                Cash, Krugler & Fredericks, LLC
                                   5447 Roswell Road, N.E.
                                      Atlanta, GA 30342

                                    Joshua W. Branch, Esq.
                                    648 S. Milledge Avenue
                                      Athens, GA 30605


         This 23rd day of June, 2021.




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Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 36 of 51




                 By:   _/s/ Robert A. Luskin_____________
                       Robert A. Luskin
                       GA State Bar No.: 004383
                       rluskin@GM-LLP.com Goodman McGuffey LLP
                       3340 Peachtree Road NE, Suite 2100
                       Atlanta, GA 30326-1084
                       (404) 264-1500 Phone
                       (404) 264-1737 Fax




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            Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 37 of 51               CLERK OF STATE COURT
                                                                                       GWINNETT COUNTY, GEORGIA
                                                                                                21-C-03626-S1
                                                                                           6/23/2021 11:15 AM
                                                                                          TIANA P. GARNER, CLERK

                          IN THE STATE COURT OF GWINNETT COUNTY

                                         STATE OF GEORGIA

     PATRICK SMITH and ELIZABETH
     SMITH, individually as Surviving Parents
     of HUNTER SMITH, deceased; and                    Civil Action
     ELIZABETH SMITH, as Administrator of              File No.:      21-c-03626-S1
     the ESTATE OF HUNTER SMITH,

          Plaintiff,

     v.

     SAFELITE FULFILLMENT, INC. and
     WENDELL GRIFFIN,

          Defendants.
                      DEFENDANT SAFELITE FULFILLMENT, INC.’S
             12(B)(6) MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

            COMES NOW, Safelite Fulfillment, Inc. (“Safelite”), named Defendant, and files

this 12(B)(6) Motion to Dismiss for Failure to State a Claim because Plaintiffs’ claims are

barred by the exclusive remedy under the Georgia Workers’ Compensation Act.

I.          INTRODUCTION

            This action arises out of a tragic incident that occurred at a Safelite distribution

center in Braselton, Georgia that resulted in the death of Hunter Smith. The action is

brought on behalf of Mr. Smith by his surviving parents alleging negligence against Mr.

Griffin and vicarious liability against Safelite. Plaintiffs have also alleged that they are

entitled to attorney’s fees under O.C.G.A. §13-6-11. Plaintiffs made the following

allegations in their Complaint.

            Safelite operated the facility in Braselton, Georgia where the incident occurred. (See

Complaint, ¶7, attached as Exhibit “A”). Mr. Smith was working at the Safelite facility

in Braselton, Georgia and that he was an employee of Hire Dynamics. (Complaint, ¶15,).
       Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 38 of 51




Mr. Smith was not an employee of Safelite. (Complaint, ¶16). On the day of the incident,

Defendant Griffin was working at the Safelite facility in Braselton, Georgia when he

caused the death of Mr. Smith by negligently operating a material handling truck.

(Complaint, ¶¶ 17, 21). Defendant Griffin was an employee of Safelite. (Complaint, ¶18).

II.    STANDARD

       A motion to dismiss for failure to state a claim should be granted only

       if it appears to a certainty that the plaintiff would be entitled to no
       relief under any state of facts which could be proved in support of his
       claim.... A plaintiff does not have to plead in the complaint facts
       sufficient to set out the element of a cause of action so long as the
       complaint puts the opposite party on reasonable notice of what issues
       must be defended against; therefore, no matter how poorly a
       complaint has been drafted, if the complaint sufficiently raises
       possible theories of recovery, it should not be dismissed. On motion
       to dismiss the trial court must construe plaintiff's amended complaint
       most favorably for the plaintiff with all doubts resolved in his favor.

       Martin v. Brown, 222 Ga. App. 566, 567, 474 S.E.2d 742 (1996).

III.   ARGUMENT AND CITATION TO AUTHORITY

When a plaintiff’s work-related injury occurs on the premises of the statutory
 employer, plaintiff’s tort remedies against the statutory employer and co-
         employees are barred by the Workers’ Compensation Act.

       Georgia law provides that the exclusive remedy provision of the Workers’

Compensation Act (“WCA”) prevents an injured employee or his/her dependents from

bringing a tort claim against the employer, a statutory employer, or a co-employee. See

O.C.G.A. §34-9-11, Sturgess v. OA Logistics Svcs., 336 Ga. App. 134, 135, 784 S.E.2d 432

(2016). The statutory employer doctrine is based on OCGA § 34–9–8, which states in

pertinent part: “(a) A principal, intermediate, or subcontractor shall be liable for

compensation to any employee injured while in the employ of any of his subcontractors

engaged upon the subject matter of the contract to the same extent as the immediate



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employer ... (d) This Code section shall apply only in cases where the injury occurred on,

in, or about the premises on which the principal contractor has undertaken to execute

work or which are otherwise under his control or management.” Manning v. Ga. Power

Co., 252 Ga. 404, 405, 314 S.E.2d 432 (1984). As a statutory employer liable to pay

workers' compensation, the principal contractor receives the correlative benefit of tort

immunity. Wright Assoc. v. Rieder, 247 Ga. 496(1), 277 S.E.2d 41 (1981).

       In Vratsinas Const. Co v. Chitwood, the plaintiff was an employee of a subcontractor

that was hired to install heating and air conditioning systems on a construction project.

314 Ga. App. 357, 358 (2012). While working on the construction site the plaintiff was

injured. Id. The plaintiff then attempted to sue the general contractor in tort for negligent

failure to maintain a safe construction site. Id. The Court of Appeals found that the trial

court should have granted the general contractor’s motion for summary judgment because

the plaintiff was working on the construction site at the time of the injury. Id. at 359. This

made the general contractor the statutory employer of the plaintiff at the time of the injury

and general contractor was immune under the exclusive-remedy provision of the WCA. Id.

See also, Creeden v. Fuentes, 296 Ga. App. 96, 673 S.E. 2d 611 (2009)(employee of

subcontractor injured on construction site could not bring tort claim against general

contractor or project manager).

       In the instant case, Plaintiffs have attempted to creatively plead their way around

the exclusive remedy provision of the WCA. The Court will notice that Plaintiffs

intentionally did not plead the relationship between Hire Dynamics and Safelite or plead

the type of work being performed by Mr. Smith and Mr. Griffin at the Safelite facility.

Stating facts as they are, Mr. Smith suffered an unfortunate on the job injury that resulted

in his death while working at the Safelite facility. (Complaint, ¶¶15, 21). Even taking as


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true that Mr. Griffin and Mr. Smith were employees of two different direct employers, both

Mr. Smith and Mr. Griffin were performing work at the Safelite facility. (Complaint, ¶¶ 7,

15, 17). Even though Safelite is not the direct employer of Mr. Smith, Safelite is Mr. Smith’s

statutory employer making Mr. Smith and Mr. Griffin co-employees of the same employer

as required by the statute. See Sprowson v. Villalobos, 355 Ga. App. 279, 841 S.E. 2d 453

(2020); Stalwart Films LLC v. Bernecker, 855 S.E. 2d 120 (Ct. App. 2021).

       Since both Mr. Griffin and Mr. Smith are employees of the same employer, Safelite,

Mr. Smith’s tort claims are barred against both Safelite and Mr. Griffin under the WCA.

Therefore, Defendants respectfully request this Court GRANT their motion to dismiss with

prejudice.



       This 23rd day of June, 2021.

                                      Goodman McGuffey LLP
                                      Attorneys for Safelite Fulfillment Inc.


                            By:       _/s/Robert A. Luskin______________
                                      ROBERT A. LUSKIN
                                      GA State Bar No. 004383
                                      rluskin@GM-LLP.com
                                      SAMANTHA M. MULLIS
                                      GA State Bar No. 365592
                                      smullis@gm-llp.com
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                                      Atlanta, GA 30326-1084
                                      (404) 264-1500 Phone
                                      (404) 264-1737 Fax




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         Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 41 of 51




                       IN THE STATE COURT OF GWINNETT COUNTY

                                        STATE OF GEORGIA

  PATRICK SMITH and ELIZABETH
  SMITH, individually as Surviving Parents
  of HUNTER SMITH, deceased; and                    Civil Action
  ELIZABETH SMITH, as Administrator of              File No.:      21-c-03626-S1
  the ESTATE OF HUNTER SMITH,

       Plaintiff,

  v.

  SAFELITE FULFILLMENT, INC. and
  WENDELL GRIFFIN,

       Defendants.
                                 CERTIFICATE OF SERVICE

         This is to certify that I have this day served all counsel and parties of record with a

copy of Defendant Safelite Fulfillment, Inc.’s 12(B)(6) Motion to Dismiss for

Failure to Sate a Claim by statutory electronic service pursuant to O.C.G.A. § 9-11-5(b)

or by depositing a copy of same in the United States Mail, postage prepaid, as follows:

                                    David N. Krugler, Esq.
                                Cash, Krugler & Fredericks, LLC
                                   5447 Roswell Road, N.E.
                                      Atlanta, GA 30342
                                    dkrugler@ckandf.com
                                     Attorney for Plaintiff

                                    Joshua W. Branch, Esq.
                                    648 S. Milledge Avenue
                                      Athens, GA 30605
                                    jb@joshbranchlaw.com
                                     Attorney for Plaintiff



         This 23rd day of June, 2021.
           Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 42 of 51




                                                       _/s/Robert A. Luskin ___________
                                                       ROBERT A. LUSKIN
                                                       GA State Bar No. 004383
                                                       rluskin@GM-LLP.com
                                                       Goodman McGuffey LLP
                                                       3340 Peachtree Road NE, Suite 2100
                                                       Atlanta, GA 30326-1084
                                                       (404) 264-1500 Phone
                                                       (404) 264-1737 Fax




Patrick Smith and Elizabeth Smith, individually as surviving parents / CAFN: 21-c-03626-S1
Certificate of Service for Defendant Safelite Fulfillment, Inc.’s 12(B)(6) Motion to Dismiss for Failure to Sate a Claim
Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 43 of 51




                  Exhibit A
                                                                                             E-FILED IN OFFICE - AM
       Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 44 of 51                     CLERK OF STATE COURT
                                                                                        GWINNETT COUNTY, GEORGIA
                                                                                                  21-C-03626-S1
                                                                                              5/14/2021 2:54 PM
                                                                                            TIANA P. GARNER, CLERK

                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

 PATRICK SMITH and ELIZABETH                    )
 SMITH, individually as Surviving               )
 Parents of HUNTER SMITH, deceased;             )
 and ELIZABETH SMITH, as                        )     CIVIL ACTION FILE NO.
 Administrator of the ESTATE OF                 )
                                                          21-C-03626-S1
 HUNTER SMITH,                                  )     ______________________
                                                )
                Plaintiffs,                     )
                                                )
 v.                                             )     JURY TRIAL DEMANDED
                                                )
 SAFELITE FULFILLMENT, INC. and                 )
 WENDELL GRIFFIN,                               )
            Defendants.                         )
                                                )

                                         COMPLAINT

       Plaintiff, by and through her counsel, hereby files this Complaint and shows this Honorable

Court and Jury as follows:

                                            PARTIES

                                               1.

       This lawsuit arises from an incident on May 14, 2019 at a Safelite Autoglass facility located

in Braselton, Georgia, which resulted in the death of Hunter Smith at the age of twenty-two (22).

                                               2.

       Plaintiffs Patrick Smith and Elizabeth Smith are residents and citizens of the State of

Georgia.

                                               3.

       Plaintiffs Patrick Smith and Elizabeth Smith are the surviving parents of Hunter Smith,

deceased. At the time of his death, Hunter Smith was not survived by a spouse or children.


                                                1
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                                                 4.

       Plaintiff Elizabeth Smith is the duly appointed Administrator of the Estate of Hunter Smith.

                                                 5.

       Defendant Safelite Fulfillment, Inc. is a Delaware corporation with its principal place of

business in Ohio. Defendant Safelite Fulfillment, Inc. is registered to transact business in the State

of Georgia and does conduct substantial business within the state of Georgia. Defendant Safelite

Fulfillment, Inc. may be served through its registered agent, Corporation Service Company, 2 Sun

Court, Suite 400, Peachtree Corners, Gwinnett County, Georgia 30092.

                                                 6.

       Defendant Safelite Fulfillment, Inc. is subject to the jurisdiction of this Court.

                                                 7.

       On information and belief, Defendant Safelite Fulfillment, Inc. operated the business

known as Safelite Autoglass located at 1350 Braselton Parkway, Braselton, Georgia, on and before

May 14, 2019.

                                                 8.

       Defendant Wendell Griffin is, on information and belief, a resident and citizen of State of

Georgia and may be served at 897 Sand Lane, Lawrenceville, Gwinnett County, Georgia 30045.

                                                 9.

       On information and belief, at all times relevant hereto including on May 14, 2019,

Defendant Griffin was an agent and employee of Defendant Safelite Fulfillment, Inc.




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       Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 46 of 51




                                               10.

       On information and belief, the negligent acts and omissions of Defendant Griffin

complained of herein were performed within the course and scope of his employment with

Defendant Safelite Fulfillment, Inc.

                                               11.

       Defendant Safelite Fulfillment, Inc. is liable for the acts and omissions of its agent and

employee, Defendant Griffin, under theories of respondeat superior, apparent agency, ostensible

agency and other theories of agency-principal law.

                                               12.

       Defendants are joint tortfeasors and are jointly and severally liable for the acts and

omissions complained of herein, and the damages sustained by plaintiff.

                                               13.

       Venue is proper in this Court.

                                             FACTS

                                               14.

       Plaintiffs incorporate the above-numbered allegations as if fully set forth herein.

                                               15.

       On May 14, 2019, Hunter Smith was performing work at the Safelite Autoglass facility

located at 1350 Braselton Parkway, Braselton, Georgia, as an agent and employee of Hire

Dynamics.

                                               16.

       At the time he was performing work at the Safelite Autoglass Braselton facility, Hunter

Smith was not an agent or employee of Defendant Safelite Fulfillment, Inc.

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                                                 17.

        Defendant Griffin was also working at the Safelite Autoglass Braselton facility on May 14,

2019.

                                                 18.

        On information and belief, Defendant Griffin was working at the Safelite Autoglass

Braselton facility on May 14, 2019, as an agent and employee of Defendant Safelite Fulfillment,

Inc., operating a material handling truck on its behalf and for its benefit.

                                                 19.

        Defendant Griffin owed Plaintiff’s decedent, Hunter Smith, a duty to use ordinary care in

the operation of his material handling truck on May 14, 2019.

                                                 20.

        Defendant Griffin breached this duty and was negligent in the operation of his material

handling truck on May 14, 2019.

                                                 21.

        During the course and within the scope of his employment with Defendant Safelite

Fulfillment, Inc., Defendant Griffin negligently operated a material handling truck, thereby

causing Hunter Smith to suffer serious physical and other injuries and caused Hunter Smiths’ death

at the age of twenty-two (22) on May 14, 2019.

                                                 22.

        Defendant Safelite Fulfillment, Inc. is liable for the negligent and wrongful acts and

omissions of Defendant Griffin.




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        Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 48 of 51




                                 COUNT I – ESTATE CLAIMS

                                                23.

       Plaintiffs incorporate the above-numbered allegations as if fully set forth herein.

                                                24.

       As a direct and proximate result of Defendants’ negligence, Hunter Smith suffered serious

physical and emotional injuries, pain and suffering. Plaintiff Elizabeth Smith, as Administrator of

the Estate of Hunter Smith, is entitled to recover damages from Defendants for the physical and

emotional injuries, pain and suffering endured by Hunter Smith prior to his death in an amount

determined by the enlightened conscience of the jury.

                                                25.

       As a direct and proximate result of Defendants’ negligence, Hunter Smith’s Estate incurred

medical, funeral and burial expenses. Plaintiff Elizabeth Smith, as Administrator of the Estate of

Hunter Smith, is entitled to recover damages from Defendants for these medical, funeral and burial

expenses in an amount proven at trial.

                         COUNT II – WRONGFUL DEATH CLAIM

                                                26.

       Plaintiffs incorporate the above-numbered allegations as if fully set forth herein.

                                                27.

       As a direct and proximate result of Defendants’ negligence, Hunter Smith died prematurely

at the age of twenty-two (22). Plaintiffs Patrick and Elizabeth Smith, as surviving parents of Hunter

Smith, are entitled to recover damages from Defendants for the full value of the life of Hunter

Smith in an amount determined by the enlightened conscience of the jury.



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        Case 1:21-cv-02547-SEG Document 1-1 Filed 06/23/21 Page 49 of 51




                           STATUTE OF LIMITATIONS TOLLING

                                                   28.

        In response to the global Covid-19 crisis, Chief Justice of the Georgia Supreme Court

Harold D. Melton issued an Order Declaring Statewide Judicial Emergency on March 14, 2020,

pursuant to O.C.G.A. § 38-3-61. That Order suspended, tolled, extended and otherwise granted

relief from any deadlines or other time schedules or filing requirements imposed by otherwise

applicable statutes, rules, regulations or court orders, whether in civil or criminal cases or

administrative matters, including, but not limited to, any statute of limitation.

                                                   29.

        Subsequent Orders were entered by the Chief Justice of the Georgia Supreme Court

extending the tolling of statutes of limitation on April 6, 2020, May 11, 2020, June 12, 2020, and

July 10, 2020.

                                                   30.

        The Chief Justice’s Fourth Order Extending Declaration of Statewide Judicial Emergency

dated July 10, 2020, reinstituted deadlines, including statutes of limitation, effective July 14, 2020,

specifically providing as follows: “The 122 days between March 14 and July 14, 2020, or any

portion of that period in which a statute of limitation would have run, shall be excluded from the

calculation of that statute of limitation.”

                                                   31.

        Thus, the statute of limitation on the wrongful death claim asserted by Plaintiffs against

Defendants was tolled for 122 days between March 14, 2020 and July 14, 2020.




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                                                   32.

       Absent the Order Declaring Statewide Judicial Emergency, and subsequent Orders

extending the statute of limitation tolling, the statute of limitation on Plaintiffs’ wrongful death

claim against Defendants would have expired on May 14, 2021. However, due to the 122 day

tolling period set forth above, the statute of limitation on Plaintiff’s claims against Defendants

shall not expire until 122 days after May 14, 2021, or the next business day.

                                                   33.

       In addition, Hunter Smith’s Estate was unrepresented until November 12, 2020, when

Letters of Administration were issued by the Probate Court of Jackson County making Elizabeth

Smith Administrator of that Estate.

                                                   34.

       Pursuant to O.C.G.A. § 9-3-92, the time between Hunter Smith’s death on May 14, 2019

and the time commence of representation of his Estate on November 12, 2020, shall not be counted

against his Estate in calculating the applicable statute of limitations. As such, the statute of

limitations on the claims of the Estate of Hunter Smith will not expire until November 12, 2022.

                                                   35.

       Accordingly, the filing of this Complaint and Plaintiffs’ claims are timely.

       WHEREFORE, Plaintiffs pray:

       a)      That process issue and Defendants be served as provided by law;

       b)      That Plaintiffs have a trial by jury on all issues so triable;

       c)      That Plaintiffs have judgment against Defendants, jointly and severally, for all

               damages, costs and expenses plead herein;

       d)      That Plaintiffs be awarded expenses of litigation, including fees, pursuant to

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             O.C.G.A. § 13-6-11;

      e)     That all costs and attorney’s fees be taxed against the Defendants; and

      f)     That Plaintiffs have such further relief which the Court deems just and proper.

      This the 14th day of May, 2021.

                                           Respectfully Submitted,

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